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MDL
EXHIBIT
_A

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Westlaw.

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Hiln re Lupron Marketing and Sales Practices
Litigation
D.Mass.,2005.

United States District Court,D. Massachusetts.
In re LUPRON® MARKETING AND SALES
PRACTICES LITIGATION.

Master File No. 01-CV-10861-RGS.
MDL NO. 1430.

May 12, 2005.

Background: Patients, health care plans, and
insurers filed multi-district litigation (MDL) class
action under Racketeer Influenced and Corrupt
Organizations Act (RICO) and state consumer
protection statutes seeking damages incurred because
of alleged scheme orchestrated by pharmaceutical
manufacturer to inflate retail price of prescription
drug. Parties filed motion for final approval of
settlement agreement, permanent certification of
class, and entry of final judgment.

Holdings: The District Court, Stearns, J., held that:

(1) class counsel adequately notified class members
of proposed settlement;

(2) certification of settlement class was warranted;
and

(3) approval of proposed settlement was warranted.

Motion granted.
West Headnotes
[1] Compromise and Settlement 89 C68

89 Compromise and Settlement
8911 Judicial Approval
89k66 Proceedings
89k68 k. Notice and Communications.
Most Cited Cases

Federal Civil Procedure 170A ©=179

170A Federal Civil Procedure
170AIlI Parties
170AII(D) Class Actions

Page |

L7OAL(D)2 Proceedings
170Ak177 Notice and Communications
L70AK179 k. Sufficiency. Most Cited
Cases
Class counsel adequately notified class members of
proposed settlement of consumer protection claims
against pharmaceutical manufacturer, even though
direct mail was not used to contact consumer class,
where notice plan called for nationwide publication
notice, solicitation of public service radio
announcements and mainstream news coverage,
posting of court-approved notices on websites,
establishment of interactive claims information
website, and toll free telephone number to take
questions from class members, plan exposed 80
percent of members of consumer class on three or
more occasions to notice of proposed settlement and
procedure for submitting claims, and accurate
mailing list for direct mail would have required
obtaining of patient names and addresses from
medical providers, insurers, and pharmacies.
Fed.Rules Civ.Proc.Rule 23, 28 U.S.C.A.

[2] Federal Civil Procedure 170A C1611

170A Federal Civil Procedure
L70AT Parties
L7OAII(D) Class Actions
L7OAII(D)1 In General
170Ak161.1 k. Factors, Grounds,
Objections, and Considerations in General. Most
Cited Cases
In determining whether to certify settlement class,
court need not inquire whether case, if tried, would
present intractable management problems. Fed.Rules
Civ.Proc.Rule 23(b)(3), 28 U.S.C.A.

[3] Federal Civil Procedure 170A 161.1

170A Federal Civil Procedure
170A Parties
170AL(D) Class Actions
L7OAIL(D)I1 In General
170Ak161.1 k. Factors, Grounds,
Objections, and Considerations in General. Most
Cited Cases
When settlement class is proposed, it is incumbent on
district court to give heightened scrutiny to class
certification requirements in order to protect absent

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class members. Fed.Rules Civ.Proc.Rule 23, 28
U.S.C.A.

[4] Federal Civil Procedure 170A ©=182.5

170A Federal Civil Procedure
170AHI Parties
170ATI(D) Class Actions
L7O0AII(D)3 Particular Classes Represented

170Ak182.5 k. Consumers, Purchasers,
Borrowers, and Debtors. Most Cited Cases
Certification of settlement class was warranted in
action seeking damages incurred because of alleged
scheme orchestrated by pharmaceutical manufacturer
to inflate retail price of prescription drug, where class
included tens of thousands of third party payers
(TPP), hundreds of thousands of consumers, all class
members would need to establish that they purchased
drug at price derived from fraudulently inflated
average wholesale price (AWP), as well as scienter
on manufacturer's part, and complicity on part of
physicians and clinics who billed members directly or
through their insurers at price derived from inflated
AWP, claims of class representatives were typical of
those of members of class, class representatives were
adequate, individual issues primarily involved
amount of damages to be awarded to individual class
members, and few, if any, members of settlement
class had incurred damages in amount sufficient to
justify costs of pursuing individual action. Fed.Rules
Civ.Proc.Rule 23, 28 U.S.C.A.

[5] Federal Civil Procedure 170A C165

170A Federal Civil Procedure
L70AII Parties
170AII(D) Class Actions
170AI(D)1 In General
17GAk165 k. Common Interest in
Subject Matter, Questions and Relief, Damages
Issues. Most Cited Cases
Commonality requirement for class certification does
not require that every class member share every
factual and legal predicate of action. Fed.Rules
Civ.Proc.Rule 23(a), 28 U.S.C.A.

[6] Federal Civil Procedure 170A C164

170A Federal Civil Procedure
170AII Parties
170AL(D) Class Actions

170AN(D)1 In General

Page 2

170Ak164 k. Representation of Class;
Typicality. Most Cited Cases
Sufficient nexus is established to show typicality
necessary for class certification if claims or defenses
of class and class representative arise from same
event or pattern or practice and are based on same
legal theory. Fed.Rules_Civ.Proc.Rule_23(a), 28
US.C.A.

[7 Federal Civil Procedure 170A €176

170A Federal Civil Procedure
170AII Parties
I7OAU(D) Class Actions
L70AT(D)2 Proceedings

170Ak176 k. Identification of Class;
Subclasses. Most Cited Cases
Proposed class must be precisely defined and its
members must be ascertainable through application
of stable and objective factors so that court can
decide, among other things, who will receive notice,
who will share in any recovery, and who will be
bound by judgment. Fed.Rules Civ.Proc.Rule 23, 28
ULS.C.A.

[8] Compromise and Settlement 89 C5]

89 Compromise and Settlement
8911 Judicial Approval
89k51 k. In General. Most Cited Cases

While settlement and compromise are favored by
law, in ruling on proposed settlement in class action,
court has fiduciary duty to absent members of class in
light of potential for conflicts of interest among class
representatives and class counsel and absent
members. Fed.Rules Civ.Proc.Rule 23, 28 U.S.C.A.

[9] Compromise and Settlement 89 C57

89 Compromise and Settlement
891 Judicial Approval
89k56 Factors, Standards and Considerations;
Discretion Generally
89k57_ k. Fairness, Adequacy, and
Reasonableness. Most Cited Cases

Compromise and Settlement 89 C59

89 Compromise and Settlement
8911 Judicial Approval
89k56 Factors, Standards and Considerations;
Discretion Generally

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89k59 k. Adequacy or Representation;
Collusion. Most Cited Cases
Approval of proposed settlement in class action is to
be given if settlement is untainted by collusion and is
fair, adequate, and reasonable. Fed.Rules
Civ.Proc.Rule 23, 28 U.S.C.A.

[10] Compromise and Settlement 89 C70

89 Compromise and Settlement
891] Judicial Approval
89k66 Proceedings
89k70 k. Evidence; Affidavits. Most Cited
Cases
When sufficient discovery has been provided and
parties have bargained at arms-length, there is
presumption in favor of proposed settlement in class
action. Fed.Rules Civ.Proc.Rule 23, 28 U.S.C.A.

[11] Compromise and Settlement 89 56.1

89 Compromise and Settlement
8911 Judicial Approval

89k56 Factors, Standards and Considerations;

Discretion Generally
89k56.1 k. In General. Most Cited Cases

In assessing proposed settlement of class action,
court should consider: (1) complexity, expense and
likely duration of litigation; (2) reaction of class to
settlement; (3) stage of proceedings and amount of
discovery completed; (4) risks of establishing
liability; (5) risks of establishing damages; (6) risks
of maintaining class action through trial; (7) ability of
defendants to withstand greater judgment; (8) range
of reasonableness of settlement fund in light of best
possible recovery; (9) range of reasonableness of
settlement fund to possible recovery in light of all
attendant risks of litigation. Fed.Rules Civ.Proc.Rule
23,28 U.S.C.A.

[12] Compromise and Settlement 89 59

89 Compromise and Settlement
89II Judicial Approval

89k56 Factors, Standards and Considerations;

Discretion Generally
89k59 k. Adequacy or Representation;

Collusion. Most Cited Cases
Storm warnings indicative of collusive settlement of
class action are lack of significant discovery and
extremely expedited settlement of questionable value
accompanied by enormous legal fee. Fed.Rules

Page 3

Civ.Proc.Rule 23, 28 U.S.C.A.

[13] Compromise and Settlement 89 ©61

89 Compromise and Settlement
89II Judicial Approval

$9k56 Factors, Standards and Considerations;

Discretion Generally
89k61 k. Particular Applications. Most

Cited Cases
Approval of proposed settlement was warranted in
multi-district litigation (MDL) class action seeking
damages incurred because of alleged scheme
orchestrated by pharmaceutical manufacturer to
inflate retail price of prescription drug, despite
objectors’ contentions that larger settlement could
have been obtained, and that release was broader than
warranted by size of settlement, where negotiations
were conducted at arms-length, unclaimed funds
would not revert to manufacturer, release would have
no effect on liability of any alleged coconspirator,
continued litigation of case would be noxiously
burdensome to all involved, most vociferous
objectors were persons enlisted by counsel competing
with MDL counsel for control of litigation, case was
in litigation for nearly four years before settlement
was reached, case was very complex, proving
damages represented significant risks to consumer
class, and consumer fund appeared more than
adequate to fully compensate all consumer claimants
and to perhaps pay dividend. Fed.Rules
Civ.Proc.Rule 23, 28 U.S.C.A.

[14] Compromise and Settlement 89 C57

89 Compromise and Settlement
89II Judicial Approval

89k56 Factors, Standards and Considerations;

Discretion Generally
89k57 k. Fairness, Adequacy, and

Reasonableness. Most Cited Cases
Settlement court reviewing fairness of compromise in
class action does not decide merits of case or resolve
unsettled legal questions. Fed.Rules Civ.Proc.Rule
23, 28 ULS.C.A.

*76Elizabeth K. Ainslie, Schnader, Harrison, Segal
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Plaintiffs.

MEMORANDUM AND ORDER APPROVING

SETTLEMENT AND CERTIFYING THE CLASS
STEARNS, District Judge.
This aspiring Multi-District Litigation (MDL) class
action was brought by patients, health care plans, and
insurers seeking damages incurred because of an
alleged scheme orchestrated by TAP Pharmaceutical
Products, Inc. (TAP) to inflate the retail price of the
prescription drug Lupron®=" Plaintiffs’ principal
claims are based on the civil provisions of the
Racketeer Influenced and Corrupt Organizations Act
(RICO), 18 USC. § 1962, and various state
consumer protection statutes. On November 24,
2004, the court preliminarily certified a settlement
class consisting of consumers and certain Third Party
Payers (TPPs), and gave its preliminary approval to a

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proposed settlement agreement between TAP, Abbott
Laboratories (Abbott), and Takeda Pharmaceuticals
Company Ltd. (Takeda), and the universe of
prospective litigants who claimed to have suffered
economic damages as a result of TAP's Lupron®-
related pricing practices.“ Under the terms of the
settlement, TAP transferred $150 million into an
escrow account to satisfy the claims of consumers
and TPPs who had made purchases of Lupron®
between 1985 and 2005, and to pay the fees and
expenses of plaintiffs' counsel. The parties now seek
final approval of the settlement, permanent
certification*78 of the class, and entry of final
judgment.

FNI. Lupron®, the trade name for
leuprolide acetate, is principally used in the
treatment of prostrate cancer. It is also
effective in the treatment of endometriosis,
precocious puberty, and uterine fibroid
preoperative anemia. Lupron® is
administered by intramuscular injection,
typically in the arm or buttocks, in daily or
monthly doses. Consequently, most
Lupron® is sold through doctors who
administer the injections to their patients.

FN2. TAP is a venture jointly owned by
Abbott and Takeda. TAP, which is based in
Waukegan, Illinois, has a corporate identity
separate from its owners, that is, it has its
own officers and board of directors.

EN3. In the Settlement Agreement, the class
is defined as “fa]ll individual persons or
entities who, [between January 1, 1985,
through March 15, 2005] made Lupron®
Purchases. Excluded from the class are the
Settling Health Plans; Defendants, their
respective present and former, direct and
indirect, parents, subsidiaries, divisions,
partners and affiliates; and the United States
government, its officers, agents, agencies
and departments, and all other government
entities’ claims, to the extent that they
previously released their claims pursuant to
the 2001 Settlement Agreement and Release
resolving the matter of United States of
America v. TAP Pharmaceutical Products,
Inc. (D.Mass.) and related litigation.”

The court held a three-day Fairness Hearing
beginning on April 13, 2005. Valerie Samsell and

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Milton Greene were permitted to intervene as
objectors to the settlement. The Intervenors
participated in the hearing through retained counsel,
the Philadelphia-based firm of Kline & Specter.
Having considered the evidence presented at the
hearing, the objections, the arguments of counsel, and
the full record of the case, the court will grant the
motion for final certification of the class, confirm the
appointment of class counsel, and approve the
proposed settlement.

BACKGROUND
Procedural History

On October 16, 2001, TAP pled guilty in the federal
district court to violations of the Prescription Drug
Marketing Act, 21 U.S.C. §§ 331(t), 333(b).™* TAP
admitted that it had encouraged doctors to
fraudulently bill the federal Medicare program for
free samples of Lupron® as part of a “brand loyalty”
scheme. The intent was to provide incentives to
doctors to prescribe Lupron® instead of cheaper,
similarly effective drugs, such as Zoladex®
(manufactured by AstraZeneca). Pursuant to a plea
agreement with the United States government, TAP
paid a $290,000,000 criminal fine and $559,483,560
in civil restitution and penalties, the largest
beneficiary of which was the federal Medicare
program, although $25,516,440 was paid to the fifty
States and the District of Columbia to compensate for
overcharges absorbed by state Medicaid programs.
TAP also executed a Corporate Integrity Agreement
with the Inspector General of the Department of
Health and Human Services (HHS) and the state
Attorneys-General committing to changes in the
supervision of its marketing and sales staff and
agreeing to report to Medicare and Medicaid the true
“Average Sales Price” (ASP) of its reimbursable
drugs. Abbott and Takeda agreed to cooperate fully
with any further government investigation of TAP in
exchange for an agreement by the United States to
forgo a prosecution alleging complicity by Abbott
and Takeda in TAP's wrongdoing.

EN4. Following TAP's plea, an indictment
was unsealed against six present and former
TAP employees and a Massachusetts
urologist alleging a criminal conspiracy to
defraud Medicare. Several other urologists
pled guilty to criminal informations. Alan
Mackenzie, W. Donald Meek, Donald
Patton, and Eric Otterbein, the highest

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ranking TAP executives indicted in
connection with the alleged scheme, were
among a group of TAP employees who,
after a lengthy trial, were acquitted on July
14, 2004, of any criminal wrongdoing. See
U.S. v. MacKenzie, No. 01-CR-10350-DPW
(D.Mass.).

At the heart of the scheme was TAP's overt or tacit
encouragement of doctors to bill Medicare for
Lupron® at an imaginary “Average Wholesale Price”
(AWP) provided by TAP to the Red Book, an
industry publication used by Medicare and other
TPPs to establish payment schedules for
reimbursable prescription drugs. = “TAP knew that
[it] could ‘raise’ the average wholesale price of
Lupron® at any time by simply forwarding to the
Redbook a new and higher average wholesale price.
This allowed TAP, in effect, to control the maximum
Medicare reimbursement paid to a doctor for
[prescribing] *79 Lupron®.” Government's
Sentencing Memorandum, at 12. The government
acknowledged that its “global” settlement with TAP
did not provide restitution to private insurers and co-
paying patients who may have been overcharged for
Lupron®, but noted that “some patients and health
insurers have commenced litigation against TAP to
recover overpayments caused by the criminal conduct
and thus have a forum in which to demonstrate and
obtain any appropriate damages.” Jd. at 4.

FNS. While Medicare Part B does not
generally reimburse the costs of self-
administered drugs, it does pay providers for
up to 80 percent of the “allowable cost” of
physician-injected drugs like Lupron®. The
remaining 20 percent is paid by the
Medicare beneficiary as a “co-payment.”
“Allowable cost” was defined by HHS
regulations from 1992 to 1998 as the lesser
of a drug's estimated actual acquisition cost
or its national average wholesale price
(AWP). 42 C.E.R. § 405.517 (amended Nov.
2, 1998; Jan. 7, 2004; Nov. 15, 2004). Prior
to 1992, Medicare reimbursements were
based on the “reasonable charge method.”
From 1998 to 2004, “allowable cost” was
defined as the lesser of a drug's estimated
actual acquisition cost or 95 percent of
AWP. 42_C.F.R. § 405.517. For 2004,
reimbursement for Lupron® was set at the
lesser of the actual charge on the bill or 81
percent of the April 1, 2003 AWP for

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Lupron®. 42 C.F.R. § 414.707. For 2005,
reimbursement is based on the ASP. 42
CER. § 414.904. The AWP was taken by
HHS from the Drug Topics Red Book (Red
Book ), a pharmaceutical industry
publication compiling wholesale drug
prices. The AWP for Lupron® published in
the Red Book was supplied by TAP. No
independent verification of the actual AWP
was undertaken by HHS, Medicare, or the
editors of the Red Book.The published AWP
for Lupron® as reported by TAP ranged
from $418.75 in 1992 to $623.79 in 2001.

In fact, a number of actions were brought in various
state and federal courts against TAP, Abbott, and
Takeda on behalf of co-paying patients, direct
purchasers of Lupron®, private health care plans, and
insurers that were not included in the government-
negotiated civil settlement. The unifying themes of
these civil claims are allegations that the defendants
fraudulently manipulated the AWP for Lupron® and
engaged in unscrupulous practices in the marketing
of the drug. They are also mostly pled, as in this case,
under the federal RICO law and state consumer
protection statutes.2 According to plaintiffs, the
AWP reported by TAP for Lupron® bore no
resemblance to the actual prices being charged to
doctors, nor did it bear any relationship to a
reasonable interpretation of the terms “average” or
“wholesale.” The AWP rather was inflated at
plaintiffs’ expense to funnel hidden profits to doctors.
As summarized in the Consolidated Amended
Complaint:

FN6. The factual allegations and legal
theories underlying the Consolidated
Amended Complaint are set out at length in
In_re_Lupron® Marketing and_ Sales
Practices Litigation, 295 F.Supp.2d_ 148

(D.Mass.2003).

[t]he improper marketing and sales practices include,
inter alia: (a) deliberately overstating the published
average wholesale price (‘AWP”) for Lupron®-the
rate upon which Medicare reimbursement (and
Medicare beneficiaries ['] co-payments) as well as
many other insurers’ payments are set-so_ that
Plaintiffs and the Class pay an artificially inflated
amount of money for Lupron®; (b) providing free
samples of Lupron® to medical providers and
instructing them, with the intent, that they could and
should unlawfully bill Medicare, private insurers and

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individual patients for the free samples; (c) providing
other unlawful financial inducements and hidden
price discounts; and (d) actively concealing, and
causing others to conceal, information about the true
price being charged for Lupron®.

Id. § 4. TAP's concession in its guilty plea that its
sales representatives distributed $31 million in “free”
Lupron® samples between 1993 and 1999 figures
prominently in most of the civil complaints. The
complaints also mirror the government's criminal
case in reciting other irregular financial inducements
offered by TAP to doctors to stimulate the sales of
Lupron®, including volume discounts, rebates,
“education” grants, junkets, off-invoice pricing, free
goods, credit memos, supposed consulting fees, and
debt forgiveness.

William Porter filed the first of two Lupron®-related
class actions in the Massachusetts federal district
court on May 18, 2001. Similar cases seeking class
action status were filed in Alabama, I!linois, and
Minnesota®®2 On December 17, 2001, all pending
federal class actions were consolidated by the MDL
Panel (MDLP) in this district for pretrial proceedings.
Two cases filed on behalf of Blue Cross and Blue
Shield entities (Blues) in the District of
Massachusetts were later joined with the MDL action
as related cases.“8

FN7. The lead plaintiffs in six of these cases
are named as plaintiffs in the Consolidated
Amended Complaint. The six cases are:
Russano v. TAP Pharmaceutical Products,
Inc. (N.D.IILC.A. No. 01-6982); Goetting v.
TAP Pharmaceutical Products, Inc.
(S.D.HLC.A. No. 01-703); Porter v. TAP
Pharmaceutical Products, Ine.
(D.Mass.C.A. No. 01-10861); Beacon
Health Plans, Inc. v. TAP Pharmaceutical
Products, Inc. (D.Mass.C.A. No. 01-10897);
Brickey v. TAP Pharmaceutical Products,
Inc. (N.D.Ala.C.A. No. 01-2770); and Twin
Cities Bakery Workers Health and Welfare
Fund v. TAP Pharmaceutical Products, Ine.
(D.Minn.C.A. No. 01-2023).

FN8. The Blues cases are Empire
Healthchoice, Inc. d/b/a/ Empire Blue
Cross and Blue Shield v. TAP
Pharmaceutical Products, Ine.
(D.Mass.C.A.02-10015), and Blue Cross
and Blue Shield of Florida, Inc. v. TAP
Pharmaceutical Products, Inc.

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(D.Mass.C.A.02-10139). On January 14,
2003, the court approved a stipulation
adding Oxford Health Plans, Inc., and
Horizon Healthcare Services, Inc., as parties
to the Consolidated Amended Complaint.

*80 Several Lupron®/AWP cases were also filed as
either state or nationwide class actions in state courts.
Counsel in a number of these cases, including those
in California Un re Lupron® Drug Cases, San
Francisco Superior Court, JCCP No. 4238; Peralta v.
Abbott Laboratories, Los Angeles County Superior
Court, No. BC 259587); Texas (Benoit v. Takeda
Chemical Industries Ltd, et al. Jefferson County
District Court, No. B166742); and HUlinois (Clark v.
TAP Pharmaceuticals, Inc. et al., Williamson County
Circuit Court No. 01L132; Jarman v. TAP
Pharmaceutical Products, Inc. et al, Madison
County Circuit Court, No. 01L1019), agreed to
coordinate discovery efforts with the counsel
appointed by this court as the interim representatives
of the interests of the MDL plaintiffs. However,
Kline & Specter, which directly or through local
counsel had brought class actions in Arizona, North
Carolina, and New Jersey, refused to join in the
cooperative effort® Kline & Specter instead
embarked on a preemptive strategy to seize control of
the litigation by using the state court proceedings to
gain leverage over counsel cooperating with the
MDL action.

FN9. On December 31, 2001, Kline &
Specter filed a class action in the North
Carolina Superior Court on behalf of lead
plaintiff Harry Stetser. The complaint named
the Lupron® defendants (TAP, Abbott and
Takeda), as well as Johnson & Johnson, a
distributor of Lupron®, and two wholly-
owned Johnson & Johnson subsidiaries,
Ethicon Endo-Surgery and Indigo Laser
Corporation as defendants. On April 24,
2003, Superior Court Judge Paul Jones
certified Stetser as a nationwide class action.
On July 6, 2004, the Court of Appeals
reversed the decision and decertified the
nationwide class. On January 7, 2005, Judge
Jones recertified Stetser as a North Carolina-
only class action, retroactive to October 8,
2004. On October 9, 2001, Kline & Specter
filed a class action against the Lupron®
defendants in the New Jersey Superior Court
on behalf of lead plaintiff Bernard Walker
alleging unjust enrichment, fraud, civil

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conspiracy, and violations of the New Jersey
consumer protection statute. On August 29,
2003, Superior Court Judge Joseph Visalli
denied the request to certify a nationwide
class of Lupron® purchasers, but certified a
New Jersey-only Lupron® class. Judge
Visalli is proceeding to trial on Walker's
individual claims. On June 28, 2002, an
Arizona law firm allied with Kline &
Specter filed a class action in the Maricopa
County Superior Court against the Lupron®
defendants and other drug manufacturers
that had also used AWP as a marketing tool.
The complaint mirrors the causes of action
set out in the Walker complaint. On March
10, 2005, Superior Court Judge Rebecca
Albrecht stayed proceedings in Swanston
pending a certification ruling in the MDL
action.

FN10. Bringing an end to unseemly attempts
to exact advantage over class action
defendants or lawyers representing
competing plaintiffs' claims by exploiting
the potential for conflict inherent in a federal
system of coordinate sovereigns was a
principal argument advanced by advocates
of the Class Action Fairness Act of 2005.
The Act essentially consolidates all class
actions with multi-state constituencies in the
federal courts.

On February 11, 2002, the court held a case
management conference to establish a discovery and
motions schedule. By that time, the defendants had
assembled a central depository containing more than
300 boxes of case-related documents to which
plaintiffs' counsel (including Kline & Specter) were
given access. On March 15, 2002, the MDL plaintiffs
filed a Consolidated Amended Complaint, and on
June 7, 2002, a Corrected Consolidated Amended
Complaint. Takeda, a Japanese company, challenged
the Consolidated Amended Complaint on
jurisdictional grounds. On January 24, 2003, the
court denied Takeda's motion to dismiss in part,
holding that while plaintiffs Goetting and Russano
had failed to establish specific jurisdiction over
Takeda, they had produced sufficient prima facie
evidence to establish general jurisdiction under the
“doing business” test of the Illinois Long-Arm
Statute, 735 Ill, Comp. Stat. § 5/2-209(b\(4). See In
re_Lupron Mktg. & Sales Practices Litig., 245
E.Supp.2d 280, 295-297 (D.Mass.2003).

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On November 25, 2003, after another heated
exchange of briefs and arguments, the court issued a
lengthy decision on defendants’ Rule 12(b)(6) motion
to dismiss, ultimately rejecting the (not
inconsequential) arguments that political question
considerations, statutes of limitations issues, and the
“filed rate doctrine” operated to bar the litigation in
its entirety. The court found the RICO claims as pled
(alternatively identifying TAP as the enterprise and
Takeda and Abbott as RICO “persons,” or the three
defendants as an “enterprise-in-fact” with each *81
defendant acting as a RICO “person”) sufficient to
satisfy the requirements of Rule 9(b). The court also
ruled that the state consumer protection act claims
were not preempted by the Employment Retirement
Income Security Act of 1974 (ERISA), § 514(a), 29
U.S.C. § 1144(a), or the Medicare Act. The court,
however, agreed with defendants that plaintiffs had
failed to plead a manageable RICO claim of an
“association-in-fact” involving all doctors and clinics
in the United States who had sold Lupron® at a price
derived from AWP. Consequently, it dismissed the
physician-related claims.

In February of 2004, the MDL plaintiffs, apparently
content with the nucleus of the remaining state and
federal claims, moved to certify a class consisting of
{a]ll persons or entities who paid for Lupron® at a
price in whole or in part calculated by reference to
the AWP as published in national pharmaceutical
publications such as the Red Book and First Data
Bank (the “Class”) during the period from January 1,
1991, through September 30, 2001 (the “Class
Period”). Excluded from the Class are (a) Defendants
and any entity in which any Defendant has a
controlling interest, and their legal representatives,
officer, directors, assignees and successors, and (b)
any co-conspirators.

The impending hearing on the certification motion
precipitated a flurry of discovery disputes as the
parties maneuvered for position. See Orders dated
March 1, 2004 (re: Motion to Compe! Calculations);
March 1, 2004 (re: Motion to Compel Individual
Plaintiffs' Releases); March 2, 2004 (re: Motion to
Compel Individual Plaintiffs to Produce Documents);
March 17, 2004 (re: Motion to Compel TAP to
Produce Documents); April 5, 2004 (re: Temporary
Stay); April 16, 2004 (re: Certification of Order for
Appellate Review); April 23, 2004 (re: Production of
Transcripts of Deposition of TAP Employees); June
14, 2004 (re: protective order); June 25, 2004 (re:

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motion for modification of schedule). On May 6,
2004, TAP filed an emergency petition with the First
Circuit Court of Appeals seeking an order of
mandamus vacating the order of this court
compelling the production of documents for which
TAP had claimed attorney-client privilege and
attorney work-product protection. On July 12, 2004,
the First Circuit denied TAP’s petition.

On January 22, 2004, the MDLP transferred to this
court “tag-along” actions brought by Liberty National
Life Insurance Company (Liberty) and United
American Insurance Company (United) against TAP
and Abbott. Liberty reimburses beneficiaries under a
special cancer treatment policy for Lupron®
injections. United reimburses beneficiaries who
purchase a supplemental Medicare insurance policy
for prescription drug co-payments including
Lupron®. Both insurers based their reimbursement
rates on the published AWP. On May 14, 2004, the
court issued a decision denying motions by TAP and
Abbott to dismiss both complaints. On August 4,
2004, the court denied a motion by TAP to dismiss a
similar complaint brought by Aetna Health, Inc.,
alleging claims under RICO and the Pennsylvania
insurance fraud statute, 18 PA. CONS. STAT. ANN.

§ 4117(a)(2) (West 2005) 84

FN11. On October 3, 2003, Aetna filed suit
in the Eastern District of Pennsylvania.
After the complaint was transferred by the
MDLP to the District of Massachusetts,
Aetna added by amendment three counts
under RICO. At oral argument, Aetna
waived three of its originally filed state law
claims.

On August 12, 2004, the court held an extended
hearing on MDL plaintiffs' class certification motion,
and took the matter under advisement. On October
11, 2004, as the court was completing the draft of its
decision, the MDL parties notified the court that they
had reached a settlement, which if approved, would
eliminate the need to certify a litigation class. The
MDL parties then moved for preliminary approval of
the negotiated settlement.

Immediately after the settlement was announced,
Kline & Specter filed a motion to intervene on behalf
of Valerie Samsell and Milton Greene The court
allowed the motion*82 “for the purpose of
participating in the process established by the court

for the evaluation of the proposed settlement.” On

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November 24, 2004, after a hearing in which counsel
for the MDL parties and the Intervenors participated,
the court gave preliminary approval to the proposed
settlement and settlement class.“ MDL counsel
were ordered to implement the Settlement Notice
Plan and to establish an interactive website on which
notice materials could be accessed and downloaded

by prospective class members.

FN12. Samsell and Greene object to the
settlement as negotiated. Although Samseli
and Greene are clients of Kline & Specter,
neither appears to be a potential beneficiary
of a pending Lupron® lawsuit other than the
MDL action, including any lawsuit brought
by Kline & Specter. Samsell believes
(apparently mistakenly) that Kline &
Specter represents her in a coverage dispute
with an insurer who refused to reimburse her
for Lupron® purchased on behalf of family
members.

FN13. On December 6, 2004, the
Intervenors appealed the Preliminary
Approval Order and asked the district court
to stay its proceedings pending the outcome
of the appeal. The district court declined to
do so. SeeRule 23(f). As of this date, no
action has been taken by the Court of
Appeals.

On December 10, 2004, less than three weeks after
the court's preliminary approval order, the MDL
plaintiffs filed an emergency motion asking the court
to enjoin Kline & Specter from

improper communication with members of the
Lupron® Purchaser Class, dissemination of false,
misleading and confusing information to members of
the Lupron® Purchaser Class concerning both the
MDL settlement and the status of other state court
proceedings related to Lupron®, the improper
solicitation of opt outs from the MDL settlement, and
plans to conduct individual trials of Lupron® related
claims in specific state court proceedings while the
MDL settlement is pending review and approval by
this court.

Defendants filed a similar motion of their own. The
MDL parties directed the court to Kline & Specter
websites established under the domain names
www.lupronlaw.com and www.lupronclass.com
purporting to “welcome” potential members to “the
class” and inviting Lupron® purchasers “to register

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for the Lupron® class action.” After reviewing the
websites, the court issued a Memorandum and Order
in which it found that the Kline & Specter websites
were intended to mislead potential members of the
MDL class. The court concluded that the typical
registrant on a Kline & Specter website would not
know that he or she was opting out as a participant in
the MDL class by “registering” with Kline & Specter.
Moreover, neither of the websites explained that a
registrant who opted for inclusion “in litigation in the
state courts” might (depending on his or her state of
residence) be left with no means of recovery. The
court acknowledged that while “[Kline & Specter]
and attorney Haviland are perfectly free to criticize
the proposed settlement agreement ... they are not
privileged to engage in deceptive conduct
manipulating the very consumers they claim to
protect.” Order dated December 21, 2004, at 3. The
court ordered Kline & Specter to remove the
purported “registration” form from the websites and
to prominently display a banner stating that the
websites had not been authorized by the MDL court,
and directed that a complete list of all “registrants” be
produced to the court (under seal) for inspection.
Upon in camera review of the list, the court found
that the great majority of those who had “registered”
were not residents of New Jersey or North Carolina,
the states in which Kline & Specter had Lupron®

actions pending S¥

FN14. The websites appear to have
originated as part of the notice plan
undertaken in the later decertified North
Carolina Stetser action, and to have been
resuscitated by Kline & Specter as
convenient fora for attacking the proposed
MDL settlement.

EN15. According to the list submitted by
Kline & Specter, some 7,000 prospective
class members had registered with Kline &
Specter, of whom some 600 are residents of
New Jersey and North Carolina.

Immediately after the court ruled on the website
issue, it learned that on December 29, 2004, attorney
Haviland had addressed a “Dear Client” letter to
every person who had registered on the Kline &
Specter websites. The letter began by noting that the
national class previously certified in North Carolina
had “recently” been decertified (in fact, it had been
decertified six months earlier) and *83 reported
(accurately) that nonresidents of North Carolina were

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“no longer included in and being protected by the
North Carolina case.” The letter then advised
registrants “to affirmatively protect their rights going
forward” by opting out of the MDL settlement and by
completing a Kline & Specter Retainer Agreement.
The letter then presented a distorted picture of the
MDL settlement, including the patently false
statement that MDL claimants would be paid only 3
cents for each dollar of their actual damages. The
letter was signed by attorney Haviland as “Co-Lead
Counsel for State Court Plaintiffs and the State Court
Classes,” without any disclosure of the fact that Kline
& Specter was serving as lead counsel in pending
Lupron® actions in only two states.

Having found the “Dear Client” letter to contain a
number of deliberate misrepresentations and
falsehoods, the court ordered that a curative notice be
sent by Kline & Specter to all of the letter's
recipients The notice highlighted misstatements
in the “Dear Client” letter, informed recipients living
outside of North Carolina and New Jersey that Kline
& Specter had not filed state lawsuits on their behalf,
and warned that persons opting out of the MDL class
might be required to bring a lawsuit personally to
recover damages from the Lupron® defendants. The
court advised recipients of the “Dear Client” letter
desiring more information to contact the MDL
Claims Administrator or to discuss with Kline &
Specter their rights and obligations under any retainer

agreement “4

FN16. The curative notice was drafted by
the court after soliciting suggestions from
the MDL parties and comments from Kline
& Specter.

FN17. The court allowed Kline & Specter's
request that for economic and client privacy
reasons it rather than the MDL Claims
Administrator be permitted to mail the
curative notice to the list of registrants.

After the mailing of the curative notice, the court sent
Letters of Request to Judge Jones in North Carolina
(dated February 2, 2004), and Judge Visalli in New
Jersey (dated January 27, 2004), the presiding judges
in the Stetser and Walker cases. The Letters noted the
misinformation disseminated by Kline & Specter and
the efforts undertaken by the court to provide
prospective MDL class members with a full
understanding of their rights and the opportunity to
make an informed choice about participating in either

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the federal or (where available) state Lupron®
litigation. As a matter of comity, the court asked
Judge Jones and Judge Visalli to defer ruling on
dispositive motions or proceeding with any
potentially preclusive trials until this court could
convene a hearing and rule on the fairness of the
proposed MDL settlement.

Intervenors then moved to disqualify this judge from
continuing to preside over the MDL proceedings,
arguing that the federal court's “unsolicited”
communications with the state court judges gave “an
objective appearance of partiality, if not actual
partiality,” by demonstrating that “Judge Stearns has
become fully engaged with the MDL litigants in their
efforts to deprive Walker, Stetser, Nelson and
DeMontbrun of their timely day in court.”
Intervenors' Memorandum, at 5. The court denied the
motion, noting the longstanding federal policy
encouraging MDL judges to communicate directly
with state court judges presiding over parallel cases
in the interests of avoiding conflicts and conserving
judicial resources. See Manual __ for Complex
Litigation, Fourth, § 20,312 (FedJud.Ctr.2004)
(Manual).

The court commenced a three-day Fairness Hearing
on April 13, 2005. Prior to the hearing, the
Intervenors filed seven boxes of exhibits, together
with associated memoranda and affidavits. MDL
plaintiffs and TAP also submitted substantial briefs
and affidavits. The court provided the MDL parties
and Intervenors each a total of fours hours for the
presentation of evidence, with an additional hour for
argument. Objectors who requested to appear were
allotted time to address the court, including several
objectors affiliated with Kline & Specter.™8 The *84
court heard direct testimony from nine witnesses
called by the MDL plaintiffs and the Intervenors, and
received in deposition form the testimony of seven
additional witnesses offered by Intervenors. The
Intervenors submitted twenty-three exhibits at the
hearing, the MDL plaintiffs eighteen, and the MDL
defendants four. Three insurers appeared to express
their support for the settlement“

ENIS8. Prior to the hearing, Paula Treskow
withdrew her objection after reviewing with
MDL counsel the reasons for the
apportionment of the settlement funds
between the consumer and TPP classes.
Larry Crown (co-counsel with Kline &
Specter in the Arizona AWP case) addressed

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the court on behalf of objector Swanston.
Jennifer Koiles, Esq., explained that an
objection filed on behalf of Rhonda Marcus
on the mistaken belief that the settlement
documents had been sealed by the court.

FN19, Michael Hefter, Esq., addressed the
court in support of the settlement on behalf
of Empire Health Choice, Inc., Aetna, and
Cobalt.

Notice

Notice to the class was disseminated by Hilsoft
Notifications, a Pennsylvania company “specializing
in designing, developing, analyzing and
implementing large-scale, un-biased legal notification
plans.” Hilsee Aff. { 2. Todd B. Hilsee, the president
of Hilsoft, has served as a notice expert in more than
175 class action cases, including In re Holocaust
Victims Assets Litig., No. CV-96-4849 (E.D.N.Y.); In
re Domestic Air Transp. Antitrust Litig., MDL 861
(N.D.Ga.); In re Dow Corning Corp., 95-20512-11
(Bankr.E.D.Mich.); In re Synthroid Mktg., MDL
1182 (N.DJIIL); and In re Bridgestone/Firestone
Tires Prods. Liab. Litig.,, MDL No. 1373 (S.D.Ind.).
Hilsee was the only notice expert invited to testify
before the Advisory Committee on Civil Rules on the
amendment to Rule 23 requiring “clear, concise,
plain language notices.” Hilsee was also asked by the
Federal Judicial Center to design model notices to
illustrate Rule 23 plain language “best practices.”

The notice plan approved by the court provided for
individual notice where practicable as well as
nationwide publication notice, the solicitation of
public service radio announcements and mainstream
news coverage, the posting of court-approved notices
on Lupron®-related websites, the establishment of an
interactive claims information website
(www.lupronclaims.com), and a toll free telephone
number to take questions from class members. The
Notice Program was designed to

(a) effectively reach approximately 80% or more of
consumer Class members; (b) provide the consumer
Class members reached with multiple opportunities
to be exposed to the Notice-on average three or more
times each; (c) provide a comprehensive and virtually
complete reach of TPP Class members by way of
mailed summary Notice; (d) use targeted notice
vehicles and state-of-art notice planning (i.e. media
known to be used by Class members), with audiences
that can be mathematically calculated; (e) provide

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thorough and fair geographic coverage of the United
States; (f) design a program broadly targeting Class
members without disadvantaging any potential Class
member on the basis of geography (where they
choose to live) or demographics (e.g. their age or
socio-economic status); (g) develop a program
consistent with other notice programs we have
designed that have been court-approved and that we
have implemented for large classes certified for
purposes of settlement in federal courts,
Massachusetts courts, and elsewhere; (h) use high
quality notification vehicles and methods in order to
convey the importance of the information affecting
Class members’ rights; (i) write and design Notices in
plain language that will be “noticed” as well as
simple, clear, easy to understand and act upon; @)
ensure that Class members who choose to participate
can conveniently act on their right to claim a payment
from the settlement through repetition, a variety of
notice distribution methods, and notice design
features; and (k) ensure an overall effective effort
based on all relevant communication standards.

Hilsee Aff. § 28. To enhance consumer exposure,
Hilsoft studied the media habits of persons most
likely to have received or procured Lupron®
injections: men fifty years of age and older (prostate
cancer); women ages 18 to 64 (endometriosis);
parents of children likely to have been afflicted by
precocious puberty; and African-American women
ages 18 to 64 (the population group most susceptible

to uterine fibroids).

The Claims Administrator, Complete Claim
Solutions, Inc., reported that on January*85 7, 2005,
it mailed a “TPP Notice Packet” to 235,480 potential
TPP class members. TPP and Consumer Notice
Packets were mailed to the Attorneys General of the
fifty States (two packets were sent to the Office of
the Attorney General in Pennsylvania-one to the then
current Attorney General and one to the Attorney
General-elect), Puerto Rico, and the Virgin Islands.
As of April 4, 2005, 3,206 Consumer Notice Packets
had been mailed to potential class members who
contacted the Lupron® Hotline to request a claims
package.

According to Hilsee, the plan exposed 80 percent of
the members of the consumer class on three or more
occasions to notice of the proposed settlement and
the procedure for submitting claims. Specifically,
Hilsee calculates that adults over 18 were reached an
average of 3 times, 85 percent of living adults treated

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for prostate cancer were exposed an average of 3.7
times, 80.7 percent of all men over 50 were exposed
an average of 3.1 times, 83.2 percent of women
between the ages of 18 and 64 3.0 times, 80.8 percent
of parents 3.1 times, and 86.2 percent of African
American women between the ages of 18 and 64 an
average of 3.2 times. Hilsee published notice in 947
newspapers, in Sunday newspaper supplements
(Parade Magazine and USA Weekend), and in
publications as diverse as American Legion,
Cosmopolitan, Ebony, Field & Stream, National
Enquirer, Newsweek, Parents, People, Popular
Mechanics, Reader's Digest, Time and VFW
Magazine. Hilsee testified that the notice was
positioned opposite news articles and editorial
features to increase the likelihood that it would be
read.

Hilsee testified that additional exposure was achieved
through public service announcements, the website,
and free media coverage of the settlement. Hilsoft
produced and distributed fifteen, thirty and sixty
second public service announcements to 1,250 radio
stations, including the top three to six adult stations
in every major media market. Hilsoft also “selected
the voice talent to help ensure that Class members
would identify with the voice from the standpoint of
demographic matching.” Hilsee Aff. § 70. As of
March 15, 2005, 127 radio stations in thirty-seven
states had aired the announcement a total of 25,083
times (an average of 198 broadcasts per radio
station). Hilsee estimates that this figure translates
into an audience of 61,953,500 adults. The
www.lupronclaims.com website address —_ was
prominently displayed in all notice materials and
website keywords were registered with hundreds of
search engines, including Google, AOL, Ask Jeeves,
Lycos, Yahoo!, WebCrawler, and AltaVista. Hilsee
testified that as of April 15, 2005, 38,187 “hits” had
been recorded at the website 2" On January 7, 2005,
a court-approved informational release was issued to
established news wires reaching more than 450 health
and medical publications, as well as 4,200 press
outlets throughout the country. The informational
release was also sent to sixty-eight support groups for
the diseases treated by Lupron®.

FN20. A “hit” is an instance of a web page
being loaded by an Internet user into his or
her browser.

At the Fairness Hearing, Hilsee testified that direct
mail was not used to contact the consumer class

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because of privacy and practicality concerns. To
compile an accurate mailing list would have required
the obtaining of patient names and addresses from
medical providers, insurers, and pharmacies that are
for the most part forbidden from divulging patient
information by federal and state privacy laws. Hilsee
testified that in his experience with similar cases,
including the Synthroid® and Paxil® drug litigations,
“privacy concerns stood in the way of being able to
consider giving individual notice to patients... In this
particular circumstance, it's even more problematic,
because these are very personal issues, prostate,
infertility, [and] precocious puberty.” Fairness
Hearing, April 14, 2005 Tr. at 154. Also, because the
class period dates back to 1985, most of the older
addresses (even if they could be obtained) would
have no value for purposes of direct mail. /d., April
14, 2005 Tr. at 151.4

FN21. Hilsee also cited studies showing that
75 percent of direct mail is thrown away by
the recipient or the recipient's “gatekeeper”
without being opened. Hilsee Aff. at 55 n.
30.

*86[1] Hilsee explained that a “placard” program
(advocated by Intervenors' counsel) would have been
ineffective for several reasons. Placard notice is
usually positioned in pharmacies while almost all
consumer class members received Lupron®
injections directly from their physicians (who would
be unlikely to display a potentially incriminating
notice in their offices). According to Hilsee, placard
notice is “a tool that [he] would [nJever rely on nor
has [he] ever [done so] in providing constitutionally-
adequate notice under due process concerns.”
Fairness Hearing, April 14, 2005 Tr. at 163. Hilsee
pointed out that the Intervenors' counsel did not
utilize placard notice (or patient direct mail) in giving
notice of a proposed settlement to the Stetser
“national class.” In Hilsee's opinion the Notice Plan
“as implemented, fully satisfied the notice
requirements of Federal Rule of Civil Procedure 23,
including the new plain language requirements of

Rule 23(c)(2).” Hilsee Aff. ¢ 81.

The Parties to the Settlement

The proposed settlement of this case involves two
distinct agreements. The first is between the
defendants and the Settling Health Plans (SHPs).
The SHPs are a consortium of insurance companies
and health plans that provide prescription drug

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